       1   Kimberly Swain (SBN 100340)
           Kim.Swain@disabilityrightsca.org
       2   Jennifer Stark (SBN 267062)
           Jennifer.Stark@disabilityrightsca.org
       3   Samuel Jain (SBN 295739)
           Samuel.Jain@disabilityrightsca.org
       4   Sarah Gregory (SBN 303973)
           Sarah.Gregory@disabilityrightsca.org
       5   DISABILITY RIGHTS CALIFORNIA
           1330 Broadway, Suite 500
       6   Oakland, CA 94612
           Tel: (510) 267-1200
       7   Fax: (510) 267-1201

       8   Linda M. Dardarian (SBN 131001)
           ldardarian@gbdhlegal.com
       9   Andrew P. Lee (SBN 245903)
           alee@gbdhlegal.com
     10    Raymond A. Wendell (SBN 298333)
           rwendell@gbdhlegal.com
     11    GOLDSTEIN, BORGEN, DARDARIAN & HO
           155 Grand Avenue, Suite 900
     12    Oakland, CA 94612
           Tel: (510) 763-9800
     13    Fax: (510) 835-1417

     14    Attorneys for Plaintiff
           (Additional Counsel for Plaintiff listed on following page)
     15
                                         UNITED STATES DISTRICT COURT
     16
                                       NORTHERN DISTRICT OF CALIFORNIA
     17

     18
           DISABILITY RIGHTS CALIFORNIA, a                       Case No. 5:20-cv-05256-CRB
     19    California nonprofit corporation,
                                                                 FIRST AMENDED COMPLAINT FOR
     20           Plaintiff,                                     DECLARATORY AND INJUNCTIVE
                                                                 RELIEF
     21    vs.
                                                                 Before: Hon. Charles R. Breyer
     22    COUNTY OF ALAMEDA and ALAMEDA
           COUNTY BEHAVIORAL HEALTH CARE                         Trial Date:   None Set
     23    SERVICES,

     24           Defendants.

     25

     26
     27

     28

29
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   Ira A. Burnim (SBN 406154) (pro hac vice)
           irabster@gmail.com
       2   Jennifer Mathis (SBN 444510) (pro hac vice)
           jenniferm@bazelon.org
       3   Lewis Bossing (SBN 227492)
           lewisb@bazelon.org
       4   BAZELON CENTER FOR MENTAL HEALTH LAW
           1101 15th Street NW, Suite 1212
       5   Washington, DC 20005
           Tel: (202) 467-5730
       6   Fax: (202) 223-0409

       7   Claudia Center (SBN 158255)
           ccenter@dredf.org
       8   Sydney Pickern (SBN 303908)
           spickern@dredf.org
       9   DISABILITY RIGHTS EDUCATION AND DEFENSE FUND
           3075 Adeline Street Suite 210
     10    Berkeley, CA 94703
           Tel: (510) 644-2555
     11    Fax: (510) 841-8645

     12    Aaron J. Fischer (SBN 247391)
           ajf@aaronfischerlaw.com
     13    LAW OFFICE OF AARON J. FISCHER
           2001 Addison Street, Suite 300
     14    Berkeley, CA 94704
           Tel: (510) 806-7366
     15    Fax: (510) 694-6314

     16    Attorneys for Plaintiff

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26
     27

     28

29
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1                                          I.     INTRODUCTION

       2          1.      Plaintiff Disability Rights California (“DRC” or “Plaintiff”) brings this action for

       3   declaratory and injunctive relief against Alameda County and Alameda County Behavioral Health Care

       4   Services (“ACBHCS”) (collectively, “Defendants”). DRC challenges Defendants’ discrimination

       5   against adults with serious mental health disabilities who repeatedly cycle into and out of Alameda

       6   County’s psychiatric institutions. DRC asks this Court to direct Defendants to provide necessary

       7   community-based mental health services to end the avoidable institutionalization of hundreds of people

       8   with serious mental health disabilities.

       9          2.      Defendants’ failure to provide community-based services needlessly and illegally

     10    causes many adults with serious mental health disabilities, especially Black adults with such

     11    disabilities, to cycle into and out of Alameda County’s psychiatric institutions and puts them at

     12    constant and high risk of unnecessary and repeated institutionalizations. Alameda County’s

     13    psychiatric detention rate for people with mental health disabilities is more than three-and-a-half times

     14    the California statewide average. During a recent two-year period, over 2,300 people were detained at

     15    the County’s psychiatric facilities more than three times, the majority of whom were Black. Hundreds

     16    of people with serious mental health disabilities were detained more than 10 times, and some

     17    individuals were detained more than 100 times. These “cycling admissions” of individuals with high

     18    needs are “the hallmark of a failed system.” United States v. Mississippi, 400 F. Supp. 3d 546, 555

     19    (S.D. Miss. 2019).

     20           3.      DRC is California’s Protection and Advocacy (“P&A”) system. It is empowered and

     21    charged by federal law to protect the rights of California residents with mental health disabilities. In

     22    2018, DRC opened an investigation into Alameda County’s practices regarding unnecessary

     23    segregation in the County’s psychiatric institutions. These institutions include John George

     24    Psychiatric Hospital (“John George”), a public psychiatric hospital, and the Villa Fairmont Mental

     25    Health Rehabilitation Center (“Villa Fairmont”), a locked institution located on the same campus as

     26    John George. On November 1, 2019, DRC issued a written finding detailing the results of DRC’s
     27    investigation. Specifically, DRC found that Defendants’ actions constitute abuse and/or neglect based

     28    on, inter alia, Defendants’ providing services in institutions rather than the community. Because

29                                                             1
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   Defendants have failed to implement a remedy, DRC is compelled to now file suit.

       2          4.      DRC brings this action on behalf of adult Alameda County residents who (a) have

       3   serious mental health disabilities, (b) have been repeatedly institutionalized in John George and/or

       4   Villa Fairmont, and (c) are at serious risk of being re-institutionalized in John George or Villa

       5   Fairmont in the future. For the purpose of this action, individuals who have been repeatedly

       6   institutionalized in John George and/or Villa Fairmont and are at serious risk of being re-

       7   institutionalized at John George or Villa Fairmont in the future include individuals who have been

       8   institutionalized in these facilities three or more times in the last 24 months. Many of these individuals

       9   also cycle through jail and emergency rooms. Many are homeless. DRC refers to these individuals—

     10    who are beneficiaries of DRC’s activities and advocacy—as “DRC Constituents.”

     11           5.      Defendants fail to provide DRC Constituents the mental health services they need in the

     12    community to avoid institutionalization. Defendants require DRC Constituents to enter County

     13    institutions to receive the mental health services they need. These services include the following:

     14    rehabilitative mental health services, including medication support services; intensive case

     15    management; services for psychiatric crises; substance use disorder treatment; and residential services.

     16           6.      Defendants’ failure to provide DRC Constituents with needed services in the

     17    community leads to their being institutionalized at John George, after which many are institutionalized

     18    at Villa Fairmont. At these two psychiatric institutions, Defendants provide DRC Constituents the

     19    mental health services that they are denied while residing in the community.

     20           7.      If Defendants provided DRC Constituents the mental health services they need in the

     21    community, most DRC Constituents could avoid repeated admissions into psychiatric institutions,

     22    stays in jail, and visits to emergency rooms.

     23           8.      Defendants’ practice of providing DRC Constituents needed mental health care in

     24    County institutions instead of in the community has dire effects. It undermines their participation in

     25    community life. It contributes to homelessness and incarceration among DRC Constituents. It

     26    perpetuates the stereotype that they are incapable of living successfully in the community.
     27           9.      Defendants’ over-reliance on institutional care also places DRC Constituents at

     28    heightened risk of contracting COVID-19. Unlike residents without disabilities, who are encouraged

29                                                             2
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   by the County to shelter in place, DRC Constituents are detained in congregate settings due to the lack

       2   of services in the community. Congregate facilities like the County’s psychiatric institutions and jail

       3   are incubators for COVID-19 and hasten its spread.

       4              10.   Defendants’ actions violate Title II of the Americans with Disabilities Act of 1990

       5   (“ADA”), 42 U.S.C. §§ 12131-12134, Section 504 of the Rehabilitation Act of 1973 (“Section 504” or

       6   the “Rehabilitation Act”), 29 U.S.C. §§ 794 et seq., and California Government Code sections 11135-

       7   11139 (“Section 11135”). The ADA and Rehabilitation Act forbid all forms of discrimination against

       8   persons with disabilities, including needless institutionalization. Olmstead v. L.C ex rel. Zimring, 527

       9   U.S. 581, 597 (1999). California law provides similar protections.

     10               11.   Defendants’ methods of delivering mental health services results in discrimination, by

     11    leading to repeated institutionalization of DRC Constituents and placing DRC Constituents at serious

     12    risk of repeated institutionalization in the future. The County’s system has irreparably harmed DRC

     13    Constituents and will continue to irreparably harm them unless this Court intervenes.

     14                                             II.      JURISDICTION

     15               12.   This Court has jurisdiction over this dispute pursuant to 28 U.S.C. § 1331, 28 U.S.C.

     16    § 2201, and 28 U.S.C. § 2202. A substantial, actual, and continuing controversy exists between the

     17    parties.

     18               13.   The Court’s exercise of supplemental jurisdiction over Plaintiff’s claims under state law

     19    is proper, as the state law claims “are so related to [Plaintiff’s claims] that they form part of the same

     20    case or controversy.” 28 U.S.C. § 1367(a).

     21                                                   III.   VENUE

     22               14.   Venue is proper in the Northern District of California pursuant to 28 U.S.C.

     23    §§ 1391(b)(1) and (2).

     24               15.   Defendants reside or are organized in the Northern District of California and the events

     25    or omissions giving rise to this action arose in Alameda County, which is located within the Northern

     26    District of California. Plaintiff Disability Rights California also has offices in Alameda County, and
     27    has constituents who reside in Alameda County.

     28

29                                                               3
                      FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1                                               IV.     PARTIES

       2   A.      Plaintiff DRC and Its Constituents

       3           16.     Plaintiff Disability Rights California is a federally funded non-profit corporation

       4   organized under the laws of the State of California, with offices in Oakland, Sacramento, Los Angeles,

       5   Fresno, Ontario, and San Diego. DRC’s mission is to advocate, educate, investigate, and litigate to

       6   advance the rights and dignity of all people with disabilities.

       7           17.     The State of California has designated DRC to serve as California’s Protection and

       8   Advocacy (“P&A”) system for individuals with disabilities, pursuant to the Developmental Disabilities

       9   Assistance and Bill of Rights (“DD”) Act, 42 U.S.C. §§ 15041 et seq., the Protection and Advocacy for

     10    Individuals with Mental Illness Act (“PAIMI”), 42 U.S.C. §§ 10801 et seq., and the Protection and

     11    Advocacy of Individual Rights Act, § 29 U.S.C. § 794(e).

     12            18.     PAIMI provides for the establishment and funding of P&A systems, including DRC, to

     13    investigate the abuse and neglect of people with mental health disabilities, to engage in protection and

     14    advocacy “to ensure that the rights of individuals with mental health disabilities are protected,” and “to

     15    ensure the enforcement of the Constitution and Federal and State statutes” on behalf of people with

     16    mental health disabilities. 42 U.S.C. §§ 10801(b)(1), 10801(b)(2)(A). As California’s P&A system,

     17    DRC is authorized to “pursue administrative, legal, and other appropriate remedies to ensure the

     18    protection of individuals with mental illness who are receiving care or treatment in the State.” 42

     19    U.S.C. § 10805(a)(1)(B); see also Oregon Advocacy Ctr. v. Mink, 322 F.3d 1101, 1110 (9th Cir. 2003).

     20            19.     Individuals with serious mental health disabilities have representation in DRC and

     21    guide and influence its activities. DRC is governed by a multi-member board of directors comprised

     22    predominantly of people with disabilities and their families. DRC’s board is advised by a PAIMI

     23    advisory council, the majority of which, including the advisory council chair, are individuals who have

     24    received mental health services or have family members who do. The PAIMI advisory council has

     25    significant input in setting DRC’s goals and objectives. Also, DRC uses surveys, focus groups, and

     26    public hearings to collect input from people with disabilities and their communities, and uses that input

     27    to set its goals and objectives.

     28            20.     DRC fulfills its federal mandate under PAIMI by providing an array of protection and

29                                                              4
                    FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   advocacy services to people with mental health disabilities across California, including individuals

       2   who have been unnecessarily institutionalized or who are at risk of such institutionalization.

       3          21.     Under this authority, DRC pursues legal remedies on behalf of people with disabilities

       4   in California and, in the context of this action, Alameda County residents who (a) have serious mental

       5   health disabilities, (b) who have been repeatedly institutionalized in John George and/or Villa

       6   Fairmont, and (c) are at serious risk of being re-institutionalized in John George or Villa Fairmont in

       7   the future. For the purpose of this action, individuals “who have been repeatedly institutionalized in

       8   John George and/or Villa Fairmont and are at serious risk of being re-institutionalized at John George

       9   or Villa Fairmont in the future” include individuals who have been institutionalized in these facilities

     10    three or more times in the last 24 months. There are hundreds, if not thousands, of individuals in

     11    Alameda County who meet this definition. They include individuals currently institutionalized at John

     12    George or Villa Fairmont who meet the above definition. It is on behalf of these individuals,

     13    collectively referred to as the “DRC Constituents,” that DRC brings this action. See Hunt v.

     14    Washington State Apple Advertising Comm’n, 432 U.S. 333, 343 (1977); Oregon Advocacy Ctr., 322

     15    F.3d at 1111-12.

     16           22.     DRC Constituents each have a serious mental health disability that substantially limits

     17    one or more major life activities.

     18           23.     All or virtually all DRC Constituents are eligible to receive services under California’s

     19    Medicaid program (known as “Medi-Cal”), services funded by California’s Mental Health Services

     20    Act, and/or services funded through other state or local mental health and housing programs.

     21           24.     DRC has standing to bring this action to vindicate the rights of the DRC Constituents

     22    under the ADA, the Rehabilitation Act, and state law to be free of unnecessary institutionalization and

     23    to receive needed mental health services in their homes and communities. DRC Constituents have

     24    representation and influence in DRC’s operations. The participation of individual DRC Constituents in

     25    this lawsuit is not required. The declaratory and injunctive relief requested is appropriate for DRC to

     26    pursue on behalf of its constituents and is germane to DRC’s mission and activities.
     27           25.     DRC Constituents include the individuals described below. Each has experienced three

     28    or more institutionalizations at John George and/or Villa Fairmont in the last 24 months.

29                                                             5
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1           26.     In order to avoid future unnecessary institutionalizations, each needs to receive in the

       2   community the following services, in sufficient quantity, which the County currently provides them in

       3   its psychiatric institutions: rehabilitative mental health services, including medication support services;

       4   intensive case management; services for psychiatric crises; substance abuse treatment; and residential

       5   services.

       6           27.     Upon information and belief, mental health professionals, including mental health

       7   professionals employed by Defendants or their contractors, have determined that DRC Constituents

       8   need these services in a community setting to avoid re-institutionalization. DRC Constituents do not

       9   oppose receipt of these services in the community. These services can be provided to DRC

     10    Constituents in the community with reasonable modifications to Defendants’ service system.

     11            1.      Rian Walter

     12            28.     Rian Walter is a 42-year-old Black Alameda County resident who graduated from UC

     13    Berkeley with degrees in Philosophy and English. He developed a mental health disability when he

     14    was 26 years old. Mr. Walter has a history of psychosis. He is enrolled in Medi-Cal and is currently

     15    an ACBHCS client.

     16            29.     Since 2004, Mr. Walter has been institutionalized at John George approximately ninety

     17    (90) times, and four (4) times at Villa Fairmont. At least four of these institutionalizations occurred in

     18    the 24 months before the filing of Plaintiff’s Complaint. He has been incarcerated at Santa Rita Jail on

     19    several occasions on charges related to his mental health symptoms. Mr. Walter believes his repeated

     20    institutionalizations have contributed to the instability in his housing and stigmatization by family

     21    members.

     22            30.     While institutionalized at John George and Villa Fairmont, Mr. Walter received

     23    rehabilitative mental health services, including medication support services; intensive case

     24    management; crisis services; substance abuse treatment; and residential services. However, upon

     25    discharge from John George and Villa Fairmont, and while Mr. Walter was living in the community,

     26    the County failed to provide him with these mental health services, which he needs to avoid
     27    institutionalization.

     28            31.     Mr. Walter does not oppose receipt of these services in the community and, upon

29                                                              6
                    FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   information and belief, mental health professionals, including mental health professionals employed by

       2   Defendants or their contractors, have determined that it is appropriate to provide the following services

       3   to Mr. Walter in a community setting: rehabilitative mental health services, including medication

       4   support services; intensive case management; crisis services; substance abuse treatment; and

       5   residential services. Indeed, when Defendants previously provided Mr. Walter the mental health

       6   services he needed in the community, he was able to live independently and avoid repeated psychiatric

       7   hospitalizations. These services can be provided to Mr. Walter in the community with reasonable

       8   modifications to Defendants’ service system.

       9             32.    Currently, Mr. Walter is not receiving the mental health services he needs in the

     10    community and, as a result, is at serious risk of re-institutionalization.

     11              2.     KG1

     12              33.    KG is a 58-year-old Black Alameda County resident who attended Mills College and

     13    San Francisco State, and received her master’s degree at UC Berkeley. KG used to have her own

     14    tutoring business. She has a history of bipolar disorder, depression, and post-traumatic stress disorder

     15    (PTSD). KG is currently homeless.

     16              34.    Since 1995, KG has been repeatedly institutionalized, including approximately 50

     17    psychiatric hospitalizations, mostly at John George. She has also been institutionalized at Villa

     18    Fairmont. She has been institutionalized at John George at least ten times in the 24 months before the

     19    filing of Plaintiff’s Complaint. KG believes her repeated institutionalizations have contributed to the

     20    instability in her housing and stigmatization by family members.

     21              35.    While institutionalized, KG received rehabilitative mental health services including

     22    medication support services; intensive case management, crisis services, and residential services.

     23    However, upon discharge and while KG was living in the community, Defendants failed to provide

     24    KG with these mental health services she needs.

     25              36.    On multiple occasions in 2019 and 2020, KG was released from jail, where she was

     26
     27
           1
               Plaintiff is using a pseudonym for this exemplar to protect the exemplar’s privacy.
     28

29                                                               7
                      FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   incarcerated for minor offenses relating to her mental health symptoms, without being connected to the

       2   community-based mental health services she needs. On other occasions, KG was discharged from

       3   John George to homelessness without needed community-based mental health services.

       4           37.     The County’s failure to provide needed services to KG while she is living in the

       5   community caused her to be repeatedly institutionalized at John George and has put her at serious risk

       6   of re-institutionalization.

       7           38.     Upon information and belief, mental health professionals, including mental health

       8   professionals employed by Defendants or their contractors, have determined that it is appropriate to

       9   provide the following services to KG in the community: rehabilitative mental health services including

     10    medication support services, intensive case management, crisis services, and residential services. KG

     11    does not oppose receipt of these services in the community. These services can be provided to KG in

     12    the community with reasonable modifications to Defendants’ service system.

     13            3.      Azizah Ahmad

     14            39.     Azizah Ahmad is a 41-year-old Black Alameda County resident and mother of three

     15    children. She recently worked for the U.S. Census as a census field supervisor and is currently a coach

     16    for a tech-related online program. Ms. Ahmad has been diagnosed with bipolar disorder and post-

     17    traumatic stress disorder. She is currently enrolled in Medi-Cal.

     18            40.     In 2019, Ms. Ahmad developed increased symptoms of bipolar disorder due to stressors

     19    in her life. Ms. Ahmad was institutionalized at John George three times in the 24 months before the

     20    filing of Plaintiff’s Complaint. At John George, she was provided rehabilitative mental health services

     21    including medication support services, intensive case management, crisis services, and residential

     22    services. Upon discharge and while Ms. Ahmad was living in the community, Defendants failed to

     23    provide her with these mental health services, which she needs to avoid re-institutionalization.

     24            41.     Upon information and belief, mental health professionals, including mental health

     25    professionals employed by Defendants or their contractors, have determined that it is appropriate to

     26    provide the following services to Ms. Ahmad in a community setting: rehabilitative mental health
     27    services including medication support services, intensive case management, and crisis services. Ms.

     28    Ahmad does not oppose receipt of these services in the community. These services can be provided to

29                                                            8
                    FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   Ms. Ahmad in the community with reasonable modifications to Defendants’ service system.

       2           42.     The County’s failure to provide these services to Ms. Ahmad in the community caused

       3   her to be repeatedly institutionalized at John George and put her at serious risk of re-

       4   institutionalization.

       5           43.     Ms. Ahmad is terrified of the prospect of being re-institutionalized at John George

       6   again. She describes the difference between receiving mental health services in the community and

       7   receiving them in an institution as the difference between “healing” and simply being “kept alive.”

       8   B.      Defendants

       9           44.     Defendant County of Alameda (the “County” or “Alameda County”) is a public entity,

     10    duly organized and existing under the laws of the State of California. The County has the authority

     11    and responsibility to provide mental health services to County residents either directly or through the

     12    administration of contracts with providers, in both institutions and the community. Alameda County

     13    also operates Santa Rita Jail. Alameda County is subject to Title II of the ADA, and receives “federal

     14    financial assistance,” thereby subjecting it to Section 504 of the Rehabilitation Act. The County is

     15    funded directly or receives “financial assistance from the state,” thereby subjecting it to California

     16    Government Code Section 11135.

     17            45.     Defendant Alameda County Behavioral Health Care Services (“ACBHCS”) is the

     18    County entity that provides mental health services to Alameda County residents. ACBHCS is subject

     19    to Title II of the ADA, and receives “federal financial assistance,” thereby subjecting it to Section 504

     20    of the Rehabilitation Act. ACBHCS also is funded directly or receives “financial assistance from the

     21    state,” thereby subjecting it to California Government Code Section 11135.

     22            46.     Defendants are responsible for ensuring that people with serious mental health

     23    disabilities are provided services in accordance with federal and state law, including the ADA, Section

     24    504, and Section 11135.

     25                        V.     STATUTORY AND REGULATORY FRAMEWORK

     26    A.      The Americans with Disabilities Act
     27            47.     Title II of the ADA applies to all “public entities,” including Defendants herein. 42

     28    U.S.C. § 12131(1)(b). It provides that “no qualified individual with a disability shall, by reason of

29                                                             9
                    FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   disability… be subjected to discrimination by such entity.” 42 U.S.C. § 12132.

       2          48.     In enacting the ADA, Congress found that “historically, society has tended to isolate

       3   and segregate individuals with disabilities, and, despite some improvements, such forms of

       4   discrimination against individuals with disabilities continue to be a serious and pervasive social

       5   problem[.]” 42 U.S.C. § 12101(a)(2). Among the areas in which Congress found that discrimination

       6   persists was “institutionalization . . . and access to public services[,]” 42 U.S.C. § 12101(a)(3).

       7   “[I]ndividuals with disabilities continually encounter various forms of discrimination, including . . .

       8   segregation ….” 42 U.S.C. § 12101(a)(5). According to Congress, “the Nation’s proper goals

       9   regarding individuals with disabilities are to assure equality of opportunity, full participation,

     10    independent living, and economic self-sufficiency for such individuals.” 42 U.S.C. § 12101(a)(7).

     11           49.     More than twenty-one years ago, the United States Supreme Court in Olmstead v. L.C.

     12    ex rel. Zimring, held that the unnecessary institutionalization of individuals with disabilities is a form

     13    of discrimination prohibited under Title II of the ADA. 527 U.S. 581, 597 (1999). In that case, the

     14    Supreme Court directed that public entities serve persons with disabilities in the community rather than

     15    in institutions when: (1) providing community-based services is appropriate; (2) the individual does

     16    not oppose receiving such services; and (3) the provision of community-based services can be

     17    reasonably accommodated, considering the resources available to the entity and the needs of other

     18    persons with disabilities. Id. at 607.

     19           50.     The regulations implementing Title II of the ADA similarly state that “[a] public entity

     20    shall administer services . . . in the most integrated setting appropriate to the needs of qualified

     21    individuals with disabilities.” 28 C.F.R. § 35.130(d); 2 see also 28 C.F.R. § 41.51(d) (same standard

     22    for entities covered by the Rehabilitation Act); Olmstead, 527 U.S. at 592 (quoting Title II regulation).

     23    The integration mandate requires public entities, like the Defendants, to provide individuals with

     24

     25    2
            Regulations implementing Title II of the ADA also provide that “[a] public entity may not, directly
           or through contractual or other arrangements, utilize criteria or …methods of administration: (i) that
     26    have the effect of subjecting qualified individuals with disabilities to discrimination on the basis of
           disability; (ii) that have the purpose or effect of defeating or substantially impairing accomplishment
     27    of the objectives of the entity’s program with respect to individuals with disabilities; ….” 28 C.F.R. §
           35.130(b)(3); 28 C.F.R. § 41.51(b)(3); 45 C.F.R. § 84.4(b)(4).
     28

29                                                              10
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   disabilities “opportunities to live, work, and receive services in the greater community, like individuals

       2   without disabilities.” U.S. Dep’t of Justice, Statement of the Department of Justice on Enforcement of

       3   the Integration Mandate of Title II of the Americans with Disabilities Act and Olmstead v. L.C.,

       4   question 1, https://www.ada.gov/olmstead/q&a_olmstead.htm (last updated February 25, 2020)

       5   (“Department of Justice Statement on Integration Mandate”).3 The “most integrated setting” is the

       6   “setting that enables individuals with disabilities to interact with non-disabled persons to the fullest

       7   extent possible.” 28 C.F.R. pt. 35, App. A, p. 450 (2010). To satisfy this mandate, public entities must

       8   provide individuals services in the community rather than in institutions, when appropriate to their

       9   needs, including “the services and supports necessary for [their] community tenure” and “opportunities

     10    to live in their own apartments or family homes, with necessary supports.” Department of Justice

     11    Statement on Integration Mandate, question 15.

     12           51.     Title II’s “integration mandate” protects both people who are currently institutionalized

     13    and people with disabilities who are at serious risk of re-institutionalization. See, e.g., M.R. v. Dreyfus,

     14    697 F.3d 706, 720, 734 (9th Cir. 2012). As the U.S. Department of Justice has explained:

     15                   [T]he ADA and the Olmstead decision extend to persons at serious risk
                          of institutionalization or segregation and are not limited to individuals
     16                   currently in institutional or other segregated settings. Individuals need
                          not wait until the harm of institutionalization or segregation occurs or is
     17                   imminent. For example, a plaintiff could show sufficient risk of
                          institutionalization to make out an Olmstead violation if a public entity’s
     18                   failure to provide community services … will likely … lead to the
                          individual’s eventual placement in an institution.
     19

     20    3
             See Olmstead, 527 U.S. at 598 (“[T]he well-reasoned views of the agencies implementing a statute
           ‘constitute a body of experience and informed judgment to which courts and litigants may properly
     21    resort for guidance.’”) (quoting and citing Bragdon); Bragdon v. Abbott, 524 U.S. 624, 642 (same,
           quoting Skidmore v. Swift & Co., 323 U.S. 134, 139-140 (1944)); Steimel v. Wernert, 823 F.3d 902,
     22    911 (7th Cir. 2016) (“In general, we defer to an agency’s interpretation of its own regulation unless the
           agency's interpretation is ‘plainly erroneous or inconsistent with the regulation’ or ‘there is reason to
     23    suspect that the agency’s interpretation ‘does not reflect the agency’s fair and considered judgment on
           the matter in question.’ We see no such flaws in the path that DOJ has taken.”) (deferring to
     24    Department of Justice Statement on Integration Mandate) (citation omitted); Pashby v. Delia, 709 F.3d
           307, 322 (4th Cir. 2013) (“Because Congress instructed the DOJ to issue regulations regarding Title II,
     25    we are especially swayed by the DOJ’s determination that ‘the ADA and the Olmstead decision extend
           to persons at serious risk of institutionalization or segregation and are not limited to individuals
     26    currently in institutional or other segregated settings.’”) (quoting Department of Justice Statement);
           see also Davis v. Shah, 821 F.3d 231, 263 (2d Cir. 2016) (“We find DOJ’s and our sister circuits’
     27    interpretation of Olmstead both consistent with the integration mandate and well-reasoned, and we
           adopt it as our own.”).
     28

29                                                             11
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   Department of Justice Statement on Integration Mandate, question 6 (emphasis added).

       2          52.     In Olmstead, the defendants’ treating professionals had judged the two plaintiffs

       3   “appropriate” for community care. That is, defendants’ treating professionals had determined the two

       4   plaintiffs could receive the care they needed in the community. 527 U.S. at 602. The Supreme Court

       5   explained that Olmstead plaintiffs must be “qualified” for a community-based program, and indicated

       6   that lower courts should defer to “reasonable assessments” of “the State’s” treating professionals when

       7   considering whether an individual could be appropriately served in the community. Id.at 601-02. The

       8   Supreme Court did not require, as a pre-condition for asserting a legal claim, that treating professionals

       9   have actually made such a determination.

     10           53.     In authoritative guidance, the U.S. Department of Justice has found that such a

     11    determination by treating professionals is not required to assert a claim under the ADA or Olmstead:

     12                   What evidence may an individual rely on to establish that an
                          integrated setting is appropriate?
     13
                          A: An individual may rely on a variety of forms of evidence to establish
     14                   that an integrated setting is appropriate. A reasonable, objective
                          assessment by a public entity’s treating professional is one, but only one,
     15                   such avenue. … However, the ADA and its regulations do not require an
                          individual to have had a state treating professional make such a
     16                   determination. People with disabilities can also present their own
                          independent evidence of the appropriateness of an integrated setting ….
     17                   This evidence may come from … community-based organizations that
                          provide services to people with disabilities outside of institutional
     18                   settings, or from any other relevant source. Limiting the evidence on
                          which Olmstead plaintiffs may rely would enable public entities to
     19                   circumvent their Olmstead requirements by failing to require
                          professionals to make recommendations regarding the ability of
     20                   individuals to be served in more integrated settings.4

     21
           4
     22      Accord Joseph S. v. Hogan, 561 F. Supp.2d 280, 290-91 (E.D.N.Y. 2008) (“[T]he language from
           Olmstead concerning determinations by ‘the State’s treatment professionals [ ]’ appears to be based on
     23    the particular facts of that case and not central to the Court’s holding. … I reject defendants’ argument
           that Olmstead requires that the state’s mental health professionals be the ones to determine that an
     24    individual’s needs may be met in a more integrated setting.”) (finding that plaintiffs may prevail if the
           complaint plausibly alleges that “a determination has been made that a particular individual’s needs
     25    may be met in a more integrated setting”); Disability Advocates, Inc. v. Paterson, 653 F. Supp.2d 184,
           258-59 (E.D.N.Y. 2009), rev’d on other grounds sub nom. Disability Advocates, Inc. v. N.Y. Coalition
     26    for Quality Assisted Living, Inc., 675 F.3d 149 (2d Cir. 2012) (The court concludes that the law does
           not require DAI to [show that each of its constituents has been deemed eligible for supported housing
     27    by a treatment provider] in order to prove that its constituents are qualified. … The court does not
           read Olmstead as creating a requirement that a plaintiff alleging discrimination under the ADA must
     28    present evidence that he or she has been assessed by a ‘treatment provider’ and found eligible to be

29                                                            12
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1                  Department of Justice Statement on Integration Mandate, question 4.

       2          54.     The Olmstead decision has become firmly embedded in national policy. In 2001,

       3   President Bush issued Executive Order 13125, affirming that “[t]he United States is committed to

       4   community-based alternatives for individuals with disabilities and recognizes that such services

       5   advance the best interests of Americans” and “foster independence and participation in the community

       6   for Americans with disabilities.” The Executive Order directed key federal agencies to fully

       7   implement the Olmstead decision and “ensure that community-based services for people with

       8   disabilities are available.” The same year, President Bush launched a New Freedom Initiative to

       9   promote community living for people with disabilities. The President’s New Freedom Commission on

     10    Mental Health declared, “Not since the Americans with Disabilities Act (ADA) … and the Supreme

     11    Court's Olmstead v. L.C. decision, which affirmed the right to live in community settings, has there

     12    been cause for such promise and opportunity for full community participation for all people with

     13    disabilities, including those with psychiatric disabilities.”5 In 2009, on the tenth anniversary of the

     14    Olmstead decision, President Obama launched the “Year of Community Living.”6 The Justice

     15    Department’s dedicated Olmstead webpage highlights its enforcement efforts across the country. U.S.

     16    Department of Justice, Civil Rights Division, Olmstead: Community Integration for Everyone,

     17    https://www.ada.gov/olmstead/olmstead_ enforcement.htm.

     18    B.     The Rehabilitation Act and California’s Non-Discrimination Statute

     19           55.     Section 504 of the Rehabilitation Act bans discrimination by recipients of federal funds,

     20

     21    served in a more integrated setting. … DAI has presented persuasive evidence from a variety of
           sources, including the Defendants’ Assessment Project, that its constituents are qualified to receive
     22    services in the community.”) Long v. Benson, No. 4:08-cv-00026-RH-WCS, 2008 WL 4571904, at *2
           (N.D. Fla. Oct. 14, 2008) (“[A public entity] cannot deny the right [to be served in the community]
     23    simply by refusing to acknowledge that the individual could receive appropriate care in the
           community. Otherwise the right would, or at least could, become wholly illusory.”).
     24    5
             President’s New Freedom Commission on Mental Health, Achieving the Promise: Transforming
     25    Mental Health Care in America, Executive Summary, https://govinfo.library.unt.edu/
           mentalhealthcommission/reports/FinalReport/FullReport-1.htm.
     26    6
             The White House, President Obama Commemorates Anniversary of Olmstead and Announces New
           Initiatives to Assist Americans with Disabilities (June 22, 2009), https://obamawhitehouse.
     27    archives.gov/the-press-office/president-obama-commemorates-anniversary-olmstead-and-announces-
           new-initiatives-ass.
     28

29                                                             13
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   such as Defendants herein. 29 U.S.C. §§ 794-794(a). It contains the same “integration mandate” and

       2   similar prohibitions against discrimination as Title II of the ADA.

       3          56.      Likewise, California’s non-discrimination statute prohibits discriminatory actions by the

       4   state and state-funded agencies or departments, and provides civil enforcement rights for violations.

       5   Section 11135 states, in pertinent part:

       6                   With respect to discrimination on the basis of disability, programs and
                           activities subject to subdivision (a) shall meet the protections and
       7                   prohibitions contained in Section 202 of the Americans with Disabilities
                           Act of 1990 (42 U.S.C. § 12132), and the federal rules and regulations
       8                   adopted in implementation thereof, except that if the laws of this state
                           prescribe stronger protections and prohibitions, the programs and
       9                   activities subject to subdivision (a) shall be subject to stronger
                           protections and prohibitions.
     10

     11    Cal. Gov’t Code § 11135(b).

     12                                     VI.       FACTUAL ALLEGATIONS

     13           57.      Alameda County is a large, diverse county located in Northern California. It is home to

     14    a population of approximately 1.67 million residents and contains fourteen incorporated cities

     15    (including Oakland, Berkeley, Fremont, Union City, Hayward, Alameda, Newark, Pleasanton and

     16    Dublin) and several unincorporated areas. Alameda County’s population is approximately 32% Asian,

     17    30% White, 22% Latinx, and 11% Black.

     18           58.      Defendants’ mental health care system is required by federal and state law to provide

     19    treatment and services to County residents with serious mental health disabilities, including DRC

     20    Constituents.

     21           59.      ACBHCS is the agency primarily responsible for implementing Alameda County’s

     22    system for serving people with serious mental health disabilities, including executing the County’s

     23    Medi-Cal Mental Health Plan and overseeing its Mental Health Services Act (“MHSA”) planning and

     24    spending. ACBHCS contracts with organizations and businesses to provide services. ACBHCS

     25    contracts with Alameda Health System for institutional care at John George and with Telecare

     26    Corporation for institutional care at Villa Fairmont.
     27

     28

29                                                            14
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1           60.     State law requires that Alameda County’s mental health system include the services that

       2   DRC Constituents require, while in the community, to avoid unnecessary institutionalization.7 A

       3   primary goal of California’s County-based “systems of care” is to provide services to adults with

       4   serious mental health disabilities who use inpatient care, are homeless, and/or are involved in the

       5   criminal system. Cal. Welf. & Inst. Code § 5600.3(b).

       6   A.      The County’s Provision of Mental Health Services

       7           61.     The County’s mental health service system includes the following: rehabilitative

       8   mental health services including medication support services, intensive case management, psychiatric

       9   crisis services, substance use disorder treatment, and residential services. These services can be

     10    provided in institutional settings like John George or Villa Fairmont, or in community settings.

     11            a.      Rehabilitative mental health services include assessment and plan development,

     12    medication support services, therapies, interventions, and education designed to restore, maintain or

     13    increase independence and self-sufficiency, including employment. When these services are provided

     14    by or with the help of peers, who have lived experience in the mental health system, they are often

     15    referred to as “peer support services.”8

     16            b.      Intensive case management helps individuals gain access to needed medical, social,

     17    educational, and other services including through face-to-face encounters with provider staff; supports

     18    the assessment and periodic reassessment of individual needs and the development of an individualized

     19    service plan; and includes monitoring of whether the plan is being properly implemented and is

     20    successful, and, if not successful, facilitating revisions to the plan.

     21

     22
           7
     23     The provision of services in the community is authorized and funded (using federal, state and local
           monies) under a number of California programs, including: the Bronzan-McCorquodale Act, Cal.
     24    Welf. & Inst. Code §§ 5600, et seq.; Medi-Cal Specialty Mental Health Services, Cal. Welf. & Inst.
           Code §§ 14700, et seq.; 9 Cal. Code Regs. §§ 1810.100, 1810.247; Mental Health Services Act,
     25
           Proposition 63 (2003); and California’s Medi-Cal program, Cal. Welf. & Inst. Code §§ 14000 et seq.,
     26    22 Cal. Code Regs. §§ 50000 et seq.
           8
             Peer supports can help people with serious mental health disabilities stay connected to treatment
     27    providers, develop or maintain social relationships, and participate in community activities. They help
           individuals transition to the community from institutional or correctional settings.
     28

29                                                              15
                    FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1          c.      Crisis services include crisis stabilization, mobile crisis services, and community-based

       2   residential crisis services, such as crisis homes or apartments. Crisis services are provided by teams of

       3   mental health professionals who respond quickly to individuals in crisis and utilize a variety of

       4   techniques to de-escalate the situation and resolve the crisis.

       5          d.      Substance use disorder treatment includes individual and group services including

       6   medication assisted therapy (“MAT”), outpatient and residential treatment, counseling and therapy,

       7   and peer support services.

       8          62.     Residential services include providing a safe and supportive place to live while

       9   receiving mental health services. These services are cost effective and successfully integrate people

     10    into their communities when they are provided in the form of supported housing. Supported housing

     11    typically has two components: (1) a rental subsidy for the individual with a mental health disability,

     12    and (2) services to support the individual’s successful tenancy, including rehabilitative mental health

     13    services that promote independent living skills.

     14           63.     When these services are provided in community settings, they may be provided through

     15    programs such as Full Service Partnerships (“FSPs”). FSPs are funded through the County’s Medi-

     16    Cal and MHSA programs. FSPs are vehicles for providing in the community rehabilitative mental

     17    health services, intensive case management services, crisis services, and substance abuse disorder

     18    treatment to individuals with serious mental health disabilities who are frequent users of hospital or

     19    emergency room services, are criminal system involved, and/or are homeless. 9 Cal. Code Regs. §

     20    3620.05. Housing is also part of the “full spectrum of services” that FSPs were designed to provide,

     21    including “rental subsidies, housing vouchers … and transitional and temporary housing.” 9 Cal. Code

     22    Regs. § 3620(a)(1)(B)(iii). All or virtually all DRC Constituents are eligible to receive services in the

     23    community through the County’s FSP program.

     24           64.     Typically, FSPs provide services using an “ACT” model, which emphasizes outreach to

     25    and engagement of people with serious mental health disabilities. “ACT” refers to “Assertive

     26    Community Treatment.” In the ACT model, teams of professionals and peers provide individuals with
     27    mental health services they need for as long as they need them. Services are provided at home, at

     28    work, and in other settings, with the goal of helping individuals live stably in the community. In

29                                                             16
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   recognition that the ACT model delivers in the community a range of services available in institutional

       2   settings, it has often been referred to as a “hospital without walls.”

       3           65.     DRC Constituents do not oppose—and in fact would strongly prefer—to receive the

       4   above-described services in the community.

       5           66.     Upon information and belief, the community placements sought by DRC Constituents

       6   are appropriate and mental health professionals, including mental health professionals employed by

       7   Defendants or their contractors, have determined that DRC Constituents are eligible for the above-

       8   described community service.

       9           67.     Defendants know how to provide the above-described mental health services in the

     10    community, and Defendants have a framework for providing these services in the community.

     11    However, Defendants have failed to provide DRC Constituents with these services as needed to

     12    prevent their institutionalization.

     13            68.     Defendants’ failure to provide DRC Constituents with these services in the community

     14    places DRC Constituents at serious risk of institutionalization at John George and/or Villa Fairmont

     15    and perpetuates a cycle of repeated institutionalization.

     16    B.      Institutionalization at John George and Villa Fairmont

     17            69.     When a DRC Constituent is experiencing a mental health crisis, California’s civil

     18    commitment laws allow the DRC Constituent to be detained in a psychiatric institution.9

     19            70.     More individuals are detained in Alameda County than any other county in

     20    California. Its psychiatric detention rate is three-and-a-half times higher than the statewide average.

     21            71.     Throughout Defendants’ service system, decisions of treating professionals are made

     22    against the backdrop of, and are constrained by, the services actually available for treatment and where

     23    they are located.

     24            72.     John George provides 24-hour emergency psychiatric care, seven days a week. It is the

     25

     26    9
             Cal. Welf. Inst. Code § 5150(a). Cal. Welf. Inst. Code § 5120 authorizes Counties to delignate the
           facilities in which individuals will be detained. John George is a designated facility. John George is
     27    part of the County’s mental health care system. The County contracts with the Alameda Health
           System (AHS), which operates John George. The County provides funding for John George.
     28

29                                                              17
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   only facility in the County that does so. It has a locked Psychiatric Emergency Services unit (“PES”)

       2   and three locked inpatient units. It is large, crowded, and physically isolated from community life.

       3            73.   Defendants detain 30% more people at the John George than a decade ago, although the

       4   population of the County has grown by less than 10% during that period.

       5            74.   A disproportionate number of the individuals detained at John George —36%—are

       6   Black. This is more than three times their overall representation in Alameda County.

       7            75.   At John George’s Psychiatric Emergency Services unit, DRC Constituents may receive

       8   rehabilitative mental health services including medication support services, intensive case

       9   management, crisis services, and residential services.

     10             76.   In the process of receiving or waiting to receive these services, DRC Constituents are

     11    crowded into a locked 35-foot-by-45-foot room, illuminated by harsh fluorescent lights. The room can

     12    be filled with upwards of sixty (60) people with mental health disabilities. Sometimes they overflow

     13    into hallways. These conditions can exacerbate people’s mental health symptoms.

     14             77.   Most DRC Constituents admitted to the PES unit are discharged to the community.

     15             78.   As the County has acknowledged, the majority of people discharged from the PES unit

     16    “are not linked to planned services and continue to over-use emergency services.”10

     17             79.   Approximately 25% of those admitted to the PES are transferred to John George’s

     18    locked inpatient units. In John George’s inpatient units, patients receive rehabilitative mental health

     19    services including medication support services, intensive case management, crisis services, substance

     20    use disorder treatment, and residential services.

     21             80.   In the process of receiving these services, DRC Constituents are confined in locked

     22    wards, monitored continuously, afforded little privacy or autonomy, and required to abide by rigid

     23    rules.

     24             81.   In recent years, the average daily census and length of stay in the John George’s

     25

     26    10
              See Alameda County: Community Assessment and Transport Team (CATT) Innovation Plan -
           October 25, 2018, available at http://mhsoac.ca.gov/document/inn-plan-alameda-county-community-
     27
           assessment-and-transport-team-catt-october-25-2018.
     28    https://www.eastbayexpress.com/oakland/overwhelmed/Content?mode=print&oid=4705660.

29                                                             18
                    FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   inpatient units have risen.

       2          82.     Some DRC Constituents in John George’s PES or inpatient units are discharged to Villa

       3   Fairmont, a 96-bed, locked “sub-acute” mental health facility located on the same campus as John

       4   George. Villa Fairmont is an institution where residents have little privacy or autonomy. At Villa

       5   Fairmont, patients receive rehabilitative mental health services including medication support services,

       6   intensive case management, services for psychiatric crises, substance use disorder treatment, and

       7   residential services.

       8   C.     Failure to Provide Community Services Puts DRC Constituents at Serious Risk of
                  Unnecessary Institutionalization.
       9

     10           83.     Denied needed services in the community, DRC Constituents “cycle” in and out of John

     11    George and Villa Fairmont. Such cycling in and out of institutionalizations is “the hallmark of a failed

     12    system” that violates disability civil rights laws. United States v. Mississippi, 400 F. Supp. 3d 546, 555

     13    (S.D. Miss. 2019).

     14           84.     A highly disproportionate number of DRC Constituents who cycle in and out of the

     15    County’s psychiatric institutions are Black. From January 2018 to June 2020, more than 45% of

     16    individuals institutionalized in County psychiatric facilities three or more times were Black.

     17           85.     During that period, 55% of the more than 350 individuals institutionalized at the PES

     18    over ten (10) times were Black, close to 60% of the more than eighty (80) individuals admitted twenty-

     19    five (25) times or more to PES were Black, five of the six individuals institutionalized at the PES more

     20    than eighty-five (85) times were Black, and approximately 44% of the more than 360 individuals

     21    institutionalized at John George’s inpatient units four (4) or more times were Black.

     22           86.     The high rate of re-institutionalization is the direct result of Defendants’ failure to

     23    provide DRC Constituents the services they need while in the community.

     24           87.     The services provided through Defendants’ Full Service Partnership programs fail to

     25    reach DRC Constituents who need them, leading to their returning again and again to institutional

     26    settings to receive services.

     27           88.     Defendants have some community-based crisis services, designed to be alternatives to

     28    institutionalization at John George. But these crisis services have inadequate capacity, hours of

29                                                             19
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   operation, and geographic accessibility, meaning that they do not reach DRC Constituents who need

       2   such services to avoid unnecessary institutionalizations.

       3           89.     In order to avoid re-institutionalization, many DRC Constituents need residential

       4   services in the community. The two Plaintiffs in Olmstead, for example, when discharged by

       5   Defendants from the state hospital, were provided not only the non-residential services they had

       6   formerly received in the hospital, but also supported housing. See Olmstead, 527 U.S. at 594 (“L.C.’s

       7   pleading requested, among other things, that the State place her in a community care residential

       8   program.”); L.C. v. Olmstead, No. 1:95-cv-01210 (N.D. Ga.), Doc. No. 128 (June 22, 2000) (Joint

       9   Motion for Incorporation of Settlement Agreement Into Order Upon Remand), at 5 (“Community

     10    Services and Placements To Be Provided … It is hereby agreed by the undersigned Defendant(s) that

     11    the Plaintiffs will be maintained in their current community-based residential placements or other

     12    setting appropriate to their needs …”), https://www.clearinghouse.net/chDocs/public/PB-GA-0001-

     13    0012.pdf.

     14            90.     The California legislature has found that those receiving supported housing “reduced

     15    their visits to an emergency department by 56 percent, and their hospital admissions by 45 percent.”

     16    Cal. Welf. & Inst. Code § 5849.1(b)(9). The provision of supported housing through FSP programs in

     17    Alameda County has “demonstrated reductions in inpatient … per client costs by an average of more

     18    than $50,000/year.”11

     19            91.     Yet, according to ACBHCS and service providers, the lack of residential services,

     20    including permanent supported housing, is “a major challenge” for DRC Constituents, and leads to

     21    further re-institutionalization.

     22            92.     Because the County lacks residential services, DRC Constituents are frequently

     23    discharged from John George and Villa Fairmont to homelessness. Some DRC Constituents end up in

     24    emergency shelters, when shelter beds are available. Others end up in homeless encampments

     25

     26    11
              Alameda County Health Care Services Agency, Subject: Adopt the Fiscal Year 2018-19 Mental
           Health Services Act Annual Plan Update for Alameda County Behavioral Health (June 4, 2019), at 9,
     27    http://www.acgov.org/board/bos_calendar/documents/DocsAgendaReg_06_18_19/HEALTH%20CAR
           E%20SERVICES/Regular%20Calendar/Homelessness%20Council%20-%20HCSA_281214.pdf.
     28

29                                                            20
                    FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   crammed under overpasses.12 This housing instability contributes directly to their being re-

       2   institutionalized at John George.

       3          93.     Mr. Walter’s experiences illustrate the link between homelessness and re-

       4   institutionalization. From 2015 to 2017, when Mr. Walter was homeless, Mr. Walter was

       5   institutionalized at John George on forty-three (43) occasions, including seven (7) times in one month.

       6   During this past year, Mr. Walter lost his housing and was institutionalized again.

       7          94.     Defendants are aware of their failure to serve Black DRC Constituents in particular.

       8   Speaking for ACBHCS, former director Marye L. Thomas, M.D., noted that in Alameda County, as

       9   with many other parts of California, its behavioral health program generally serves African Americans

     10    in “extremely restrictive (often involuntary) settings such as hospitals and jails.” This “leads

     11    [Defendant ACBHCS] to conclude that many African Americans are being inappropriately served.”13

     12           95.     If DRC Constituents received the mental health services they needed in the community,

     13    they could avoid future unnecessary psychiatric institutionalizations.

     14    D.     The County’s Provision of Mental Health Services in Institutions Rather than
                  Community Settings Harms DRC Constituents.
     15

     16           96.     Defendants’ failure to provide needed community-based services has devastating

     17    effects. DRC Constituents do not receive the services they need to stabilize their conditions in the

     18    community, and they live at constant and high risk of unnecessary institutionalization.

     19           97.     Defendants’ practice of requiring DRC Constituents to be admitted to the County’s

     20    psychiatric institutions to receive needed services hinders DRC Constituents’ ability to gain control

     21    over their symptoms, undermines their participation in community life, and perpetuates the stereotype

     22    that they are incapable of living stably in the community and leading a full life.

     23           98.     The lack of community services puts DRC Constituents, particularly Black DRC

     24

     25    12
              Thomas Fuller & Josh Haner, Among the World’s Most Dire Places: This California Homeless
           Camp, N.Y. Times (Dec. 17, 2019), https://www.nytimes.com/interactive/2019/12/17/us/oakland-
     26    california-homeless-camp.html;
           13
              African American Utilization Report at 8, 24 (Winter 2011),
     27    http://archive.mhsoac.ca.gov/Meetings/docs/Meetings/2014/August/CLCC_082014_AI3_AAUReport.
           pdf
     28

29                                                             21
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   Constituents, at high risk of being arrested and incarcerated in the County’s jail. Approximately one-

       2   quarter of the people held in the County’s jail population have been identified as having a “serious

       3   mental illness.”14 Typically, DRC Constituents are jailed for minor offenses that are disability-related.

       4          99.     Once detained, DRC Constituents have longer stays on average than other jail inmates

       5   and are at greater risk of committing acts of self-harm and being punished for minor infractions. A

       6   large number of people with mental illness have died in the County’s jail.15

       7          100.    Defendants’ actions have also increased DRC Constituents’ risk of contracting COVID-

       8   19. Congregate settings can be incubators for COVID-19, which has spread through John George and

       9   Villa Fairmont, as well as the jail and County homeless shelters. Those institutionalized at John

     10    George’s PES sit in close proximity to one another for several hours. In John George’s inpatient units

     11    and at Villa Fairmont, rooms have multiple beds and sealed windows, hallways are narrow, staff move

     12    between wards, and alcohol-based hand sanitizer is not readily available. Many DRC Constituents

     13    have health conditions that increase the risk of death if they contract COVID-19.

     14           101.    Residents without disabilities are encouraged by the County to shelter in place. But

     15    DRC Constituents must enter congregate settings to obtain needed services.

     16           102.    Recent data indicates that the COVID-19 death rate among Black people is substantially

     17    higher than that of other groups, and that rates of depression and anxiety have spiked among Black

     18    people since the pandemic began. These factors compound the racial disparities already present in the

     19    County’s mental health system.

     20    E.     The County Can Provide Community Services Without Fundamentally Altering Its
                  System.
     21

     22           103.    The community placement of DRC Constituents, including provision of the services

     23

     24    14
              A “serious mental illness” is another term for “serious mental health disability” and is generally
           defined as “a mental, behavioral, or emotional disorder resulting in serious functional impairment,
     25
           which substantially interferes with or limits one or more major life activities.” Nat’l Inst. of Mental
     26    Health, Mental Health Information, https://www.nimh.nih.gov/health/statistics/mental-illness.shtml.
           15
              See, e.g., Lisa Fernandez, A look at the 45 inmates who have died at Santa Rita Jail in the last five
     27    years, KTVU (Oct. 4, 2019), https://www.ktvu.com/news/a-look-at-the-45-inmates-who-have-died-at-
           santa-rita-jail-in-the-last-five-years.
     28

29                                                            22
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   sought herein, can be reasonably accommodated. This can be accomplished with reasonable

       2   modifications to Defendants’ service system.

       3          104.     Defendants can implement the relief DRC seeks without fundamentally altering their

       4   service system. Defendants could reasonably modify their service system to avoid the needless re-

       5   institutionalization of DRC Constituents by, inter alia, expanding provider capacity to deliver mental

       6   health services in the community, relocating services from institutions to the community, and

       7   maximizing available funding including through Medi-Cal.

       8          105.     Publicly available records show that the average cost per visit to John George’s PES is

       9   $3,010. The average cost per day for John George’s inpatient units is $2,602, and the average daily

     10    cost at Villa Fairmont is close to $400 per day. The average length of stay at John George for DRC

     11    Constituents who are homeless is eight days, amounting to more than $20,000 in cost per person. At

     12    Villa Fairmont, the average stay is four (4) months, costing $48,000 per person.

     13           106.     According to County data, in 2019 the County spent 30% of its entire mental health

     14    budget on about 800 individuals with the highest utilization of public mental health services in the

     15    County. Fully 70% of those dollars were spent on institutional care at John George and Villa Fairmont

     16    and mental health services in jail. The County could prevent DRC Constituents’ needless re-

     17    institutionalization if the dollars the County spent on avoidable institutional care were spent instead to

     18    provide them needed mental health services in the community including supported housing.

     19           107.     The relief DRC seeks is both legally required and financially feasible.

     20                                         VII.   CLAIMS FOR RELIEF
     21
                                             FIRST CLAIM FOR RELIEF
     22                                      Violation of Title II of the ADA
                                          Unnecessary Institutionalization and
     23                  Failure to Provide Services in the Most Integrated Setting Appropriate
                                         42 U.S.C. §§ 12131 et seq., 28 C.F.R. § 35.130
     24

     25           108.     Plaintiff repeats and incorporates by reference the preceding paragraphs of this

     26    Complaint as if set forth in full herein.

     27           109.     DRC Constituents are qualified individuals with disabilities within the meaning of Title

     28    II of the ADA and meet the essential eligibility requirements for the receipt of services, programs, or

29                                                             23
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   activities of Defendants. 42 U.S.C. § 12131(2).

       2          110.    Defendant Alameda County, which includes Alameda County Behavioral Health Care

       3   Services, is a public entity subject to Title II, 42 U.S.C. § 12131(1).

       4          111.    Defendants violate the ADA, and its implementing regulations, including as follows:

       5          a.      By administering the County’s mental health system in a way that subjects DRC

       6   Constituents to unnecessary institutionalization at a psychiatric hospital or other institution instead of

       7   providing them with services in the community, and places them at serious risk of such

       8   institutionalization. 42 U.S.C. § 12132.

       9          b.      By failing to administer services, programs, and activities in “the most integrated

     10    setting” appropriate to the needs of DRC Constituents. 28 C.F.R. § 35.130(d).

     11           c.      By directly or through contractual or other arrangements utilizing criteria or methods of

     12    administration in Alameda County’s mental health system that subject DRC Constituents to

     13    discrimination on the basis of their disabilities. 28 C.F.R. § 35.130(b)(3).

     14           d.      By failing to make reasonable modifications to allow DRC Constituents to participate in

     15    Defendants’ services, programs, and activities in an integrated community setting.

     16           112.    Providing DRC Constituents with the community services they need to avoid

     17    unnecessary institutionalization and segregation at a psychiatric hospital or other institution would not

     18    fundamentally alter Defendants’ programs, services, or activities.

     19           113.    Plaintiff and DRC Constituents have suffered and will suffer injury as a proximate

     20    result of Defendants’ violation of their rights under the ADA.

     21           114.    Plaintiff is entitled to declaratory relief, injunctive relief, attorneys’ fees, and costs.

     22                                  VIII. SECOND CLAIM FOR RELIEF
                                        Violation of Section 504 of the Rehabilitation Act
     23                                       Unnecessary Institutionalization and
                             Failure to Provide Services in the Most Integrated Setting Appropriate
     24
                                       29 U.S.C. § 794; 28 C.F.R. § 41.51; 45 C.F.R. § 84.4
     25

     26           115.    Plaintiff repeats and incorporates by reference the preceding paragraphs of this

     27    Complaint as if set forth in full herein.

     28           116.    DRC Constituents are qualified individuals with disabilities within the meaning of

29                                                              24
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   Section 504 of the Rehabilitation Act. 29 U.S.C.§ 794(a).

       2          117.     Defendants are engaged in providing programs or activities receiving Federal financial

       3   assistance sufficient to invoke the coverage of Section 504. Id. § 794(b)(1) & (b)(3).

       4          118.     Defendants violate Section 504, and its implementing regulations, including as follows:

       5          a.       By failing to administer services, programs, and activities in “the most integrated

       6   setting” appropriate to the needs of the DRC Constituents. 28 C.F.R. § 41.51(d); 45 C.F.R.

       7   § 84.4(b)(2).

       8          b.       By directly or through contractual or other arrangements utilizing criteria or methods of

       9   administration in Alameda County’s mental health system that subject DRC Constituents to

     10    discrimination on the basis of their disabilities. 28 C.F.R. § 41.51(b)(3); 45 C.F.R. § 84.4(b)(4)

     11           119.     Providing DRC Constituents with the community services they need to avoid

     12    unnecessary institutionalization and segregation at a psychiatric hospital or other institution would not

     13    fundamentally alter Defendants’ programs, services, or activities.

     14           120.     Plaintiff and DRC Constituents have suffered and will suffer injury as a proximate

     15    result of Defendants’ violation of their rights under Section 504 of the Rehabilitation Act.

     16           121.     Plaintiff is entitled to declaratory relief, injunctive relief, attorneys’ fees, and costs.

     17                                   IX.    THIRD CLAIM FOR RELIEF
                                  Violation of California Government Code §§ 11135 and 11139
     18

     19           122.     Plaintiff repeats and incorporates by reference the preceding paragraphs of this

     20    Complaint as if set forth in full herein.

     21           123.     California Government Code sections 11135 and 11139 prohibit discrimination against

     22    persons on the basis of physical or mental disability and other protected statuses in state-run or state-

     23    funded programs and activities.

     24           124.     Defendants Alameda County and ACBHCS are recipients of financial assistance from

     25    the state of California under Government Code section 11135(a).

     26           125.     California Government Code § 11135(b) incorporates the protections and prohibitions

     27    contained in the ADA and its implementing regulations. Section 11135(b) states in pertinent part, that:

     28                    With respect to discrimination on the basis of disability, programs and
                           activities subject to subdivision (a) shall meet the protections and
29                                                           25
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1                   prohibitions contained in Section 202 of the Americans with Disabilities
                           Act of 1990 (42 U.S.C. § 12132), and the federal rules and regulations
       2                   adopted in implementation thereof, except that if the laws of this state
                           prescribe stronger protections and prohibitions, the programs and
       3                   activities subject to subdivision (a) shall be subject to stronger
                           protections and prohibitions.
       4

       5           126.    Accordingly, Defendants’ failure to provide DRC Constituents with services in the most

       6   integrated setting appropriate as alleged above, which violates the ADA, also violates Section 11135.

       7           127.    In addition, Defendants’ policies and methods of administering Alameda County’s

       8   mental health system—directly or through contractual or other arrangements—subjects DRC

       9   Constituents to unnecessary institutionalization and segregation at psychiatric hospitals and other

     10    institutions, instead of providing them with services in the community. 2 Cal. Code Regs. § 11154(e).

     11            128.    For all the reasons outlined above, Defendants have violated and continue to violate

     12    California Government Code § 11135 and 11139 through their non-compliance with the statute and its

     13    implementing regulations, see 2 Cal. Code Regs. § 11154(i).

     14            129.    Plaintiff is entitled to declaratory relief, injunctive relief, attorneys’ fees, and costs.

     15                                         X.     REQUEST FOR RELIEF

     16            WHEREFORE, Plaintiff respectfully requests that the Court:

     17            130.    Issue a declaratory judgment that Defendants are violating the ADA, Section 504 of the

     18    Rehabilitation Act, and California Government Code section 11135 by, inter alia:

     19            a.      failing to provide DRC Constituents with services in the most integrated setting and

     20    needlessly institutionalizing them in a psychiatric hospital or other institution or putting them at serious

     21    risk of such institutionalization;

     22            b.      discriminating against DRC Constituents on the basis of disability by utilizing methods

     23    of administration that result in unnecessary institutionalization or subjecting them to a serious risk of

     24    such institutionalization;

     25            131.    Enjoin Defendants, their successors in office, subordinates, agents, employees and

     26    assigns, and all persons acting in concert from subjecting DRC Constituents to the unlawful acts and
     27    omissions described herein, and issue an injunction sufficient to remedy these violations;

     28            132.    Order Defendants to take immediate action to reform their policies, procedures, and

29                                                               26
                    FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1   practices to fully comply with the ADA, Section 504, and state law. Under such order, Defendants

       2   must:

       3           a.      Operate a mental health system that does not result in the unnecessary

       4   institutionalization of DRC Constituents, or place DRC Constituents at serious risk of

       5   institutionalization;

       6           b.      Provide these mental health services in the community in a quantity and manner that

       7   prevents unnecessary institutionalization of DRC Constituents: rehabilitative mental health services,

       8   including medication support services; intensive case management; services for psychiatric crises;

       9   substance use disorder treatment; and residential services.

     10            133.    Retain jurisdiction of this case until Defendants have fully complied with the orders of

     11    this Court and there is reasonable assurance that Defendants will continue to comply in the future

     12    absent the Court’s continuing jurisdiction;

     13            134.    Award Plaintiff reasonable attorneys’ fees, costs, expenses, and disbursements as

     14    authorized by law; and

     15            135.    Grant further relief as the Court may deem just and proper.

     16

     17    Dated: February 22, 2021                       Respectfully submitted,

     18                                                   DISABILITY RIGHTS CALIFORNIA
     19
                                                          /s/ Kimberly Swain
     20                                                   Kimberly Swain

     21                                                   GOLDSTEIN, BORGEN, DARDARIAN & HO
     22
                                                          /s/ Andrew P. Lee
     23                                                   Andrew P. Lee

     24                                                   BAZELON CENTER FOR MENTAL HEALTH LAW
     25
                                                          /s/ Ira A. Burnim
     26                                                   Ira A. Burnim

     27

     28

29                                                            27
                    FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
       1                                                  DISABILITY RIGHTS EDUCATION AND DEFENSE
                                                          FUND
       2
                                                          /s/ Claudia Center
       3
                                                          Claudia Center
       4
                                                          LAW OFFICE OF AARON J. FISCHER
       5
                                                          /s/ Aaron J. Fischer
       6                                                  Aaron J. Fischer
       7                                                  Attorneys for Plaintiff
       8

       9                                      SIGNATURE ATTESTATION

     10           In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this

     11    document has been obtained from the signatories on this e-filed document.

     12    Dated: February 22, 2021                       /s/ Andrew P. Lee
                                                          Andrew P. Lee
     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

     26
     27

     28

29                                                            28
                   FIRST AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF - CASE NO. 5:20-CV-05256-CRB
797662.2
30
